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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

-- X
SONYA DURAKU, NIEVES SANCHEZ, and
JULIA lNlRlO, Civil ActiOl'l NO.: 09 CV 09`351_DLC
' Plaintiffs, '
COMPLAINT
- against -
TISHMAN SPEYER PROPERTIES, INC. Jury Trial Demanded
Defendant.
-- -- -X

 

Plaintit`t`s, SONYA DURAKU, NIEVES SANCHEZ, and JULIA INIRIO, by and
through their attorneys, MISIANO SHULMAN CAPETOLA & KESSLBR, _LLP.,
complaining of the defendant TlSI-IMAN SPEYER PROPERTlES, INC., allege as

follows:

INTRODUCTION

n l. Tliis is an action, brought pursuant to Title Vll of the Civil Rights Act of
1964, as amended, 42 U.S.C. § 2000e, e_t_S_eL (hereina&er referred to as “'l`itle VII”); the
New York State Human Rights Law, Exeeutive Law § 296 MQL, (hereinafter referred to
as “Executive Law”), and the Administrative Code of the City of New York § 8-107 §§
M. (hereinafter referred to as “Administrative Code”), and seeks to remedy employment
discrimination, based upon piaintiffs’ gender and national origin, in the terms and
conditions of employment and retaliation for opposition to unlawful employment
practices. Plaintiffs Seel< injunctive and declaratory relief, compensatory and punitive

damages, and other appropriate legal and equitable relief pursuant to Title VII, the

Executive Law, and the Administrative Code.

 

 

 

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STATEMENT-PURSUAN'I-` TO LOCAL RULE 9
2. For purposes of complying With Local Rule 9, plaintiffs state that they
have no corporate parent, subsidiary or affiliate and that there are no other interested
parties.
JURISDICTION & VENUE

3. Jurisdiction of the Court over this controversy is based upon 42 U.S.C. §

2000e et seg., 28 U.S.C. § 1331 and the doctrine of supplemental jurisdiction pursuant to

28U.S.C.§1367._

4. This Court has jurisdiction over all state law claims brought in this action
pursuant to 28 U.S.C. § 1367.

5. nefenaam, TISHMAN sPEYER P'RoPEnrrEs, iNC. (hereinaaer
referred to as “defendant”) is a New York State corporation located in New York, County
of New York, State of New York, Which is Within the Southern District of New York.

6. Accordingly, this action properly lies in the Southern District of New
York, pursuant to 28 U.S.C. § 1391 and 42 U.S.C. § 2000e-5(f](3).

EXHAUSTION OF ADMINISTRATIVE REMEDIES
ON BEHALF OF PLAINTIFFS,
SONYA DURAKU, NIEVES SANCHEZ, AN}) JULIA INIRIO.

i. on or abour, Janua;y 23, 2009, the plaintifrs, soNYA DURAKU,

NIEVES VSANCHEZ, and JULIA lNlRIO, each filed written Charges of discrimination
based on gender and national origin and retaliation with the United States Equal
Employment Opportunity Cornmission (hereinafter referred to as “EEOC”).

2. Plaintiff, SONYA DURAKU’s Charge Was assigned Charge No.: 520-

2009-01411.

 

 

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3. Plaintiff, NIEVES SANCHEZ’s Charge Was assigned Charge No.: 520-

2009-01410.
4. Plaintiff, JULIA lNlRiO’s Charge Was assigned Charge No.: 520-2009-

01409.

5. In the aforesaid Charges of discrimination and retaliation, plaintiffs, _
SONYA DURAKU, NIEVES SANCHEZ, and JULIA INIRIO, alleged, inter alia, sought
_to remedy employment discrimination, perpetrated by the defendant, based upon
plaintiffs’ gender and national origin, in the terms and conditions of employment and
retaliation for opposition to unlawful employment practices in violation of Title VI_I,

Executive Law, and Administrative Code.

6. On or about August l4, 2009, the EEOC issued a “Notice of Right to Sue”
to plaintiffs, SONYA DURAKU, NIEVES SANCHEZ, and J"ULIA lNlRlO, With
reference to their individual Charges of discrimination and retaliation, and same Was
received by plaintiffs on or about August 20, 2009. The Notices of Right to Sue advised
plaintiffs, SONYA DURAKU, NIEVES SANCHEZ, and JULIA INlRlO, of their right to

file an action against the defendant in the appropriate federal court within ninety (90)

days of her receipt thereof

7. The Within action is`being filed timely Within the time prescribed by lavv.

LJJ

 

 

 

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THE PARTIES

7. Plaintiff, SONYA DURAKU, during all relevant times hereinafter
mentioned, Was and still is a citizen of the State of New-Yorl<, County of Richmond,
currently residing at 171 Garfield Avenuey Staten lsland, Nevv Yorl<.

8. Plaintiff, NIEVES SANCHEZ, during all relevant times hereinafter
mentioned, Was and still is a citizen of the State of New York, County of Nevv York,
currently residing at 1990 Lexington Avenue, Apt. 6E, NeW Yorl<, New York.

9. Plaintiff, JULIA INIRIO, during all relevant times hereinafter mentioned,
Was and still is a citizen of the State of New York, County of ' New York, currently

residing at 601 109th Street, Apt. 63, New Yorl<, New York.

10. Upon information and belief, defendant Was and still is a New York State

corporation, maintaining a place of business in the County, City, and State ofNew York
11. All times herein mentioned, defendant Was and still is an “employer” as

defined by Title Vll, EXecutive Law, Administrative Code, and all other applicable State

statutes

 

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M_CLS
12. That plaintiff SONYA DURAKU, is a female
13. That plaintiff, SONYA DURAKU, is of Albanian descent.
114. That since 1986, the plaintiff, SONYA DURAKU, has been employed by

the defendant as a foreperson at the commercial building located at 666 Fifth Avenue,

Nevv Yorl<, Nevv York.
15. Starting sometime in 2006, plaintiff, SONYA DURAKU, was subjected to

hostile work environment due to frequent incidents of discrimination based on her gender

by her co-workers and supervisors

l6. Starting sometime in 2006, plaintiff, SONYA DURAKU, was subjected to a
hostile work environment due to frequent incidents of discrimination based on her
national origin by her co-worl<ers and supervisors

17. As a result of plaintiff, SONYA DURAKU’$ complaints to her supervisors of
incidents of a hostile Work environment due to frequent incidents of discrimination and
filing a Charge with the EEOC for same, she was retaliated against by defendant

18. That plaintiff, NIEVES SANCHEZ, is a female.

19. That plaintiff, NlEVES SANCHEZ, is of Dominican Republic descent.

20. That since 1994, the plaintiff, NIEVES SANCHEZ, has been employed by the
defendant as a cleaner at the commercial building located at 666 Fifth Avenue, New
York,NeW York. l

2l. Starting sometime in 2007, plaintiff, NIEVES SANCHEZ, was subjected to

hostile work environment due to frequent incidents of discrimination based on her gender

by her co-Workers and Supervisors.

 

 

 

 

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22. Starting sometime in 2007, plaintiff, NIEVES SANCHEZ, was subjected to a
hostile Work environment due to frequent incidents of discrimination based on her
national origin by her co~vvorkers and supervisors

23. As a result of Plaintiff, NIEVES SANCI-IEZ’s complaints to her supervisors of
incidents of discrimination and filling a charge With the EEOC for same, she Was
retaliated against by defendant

24. That plaintiff, JULIA INIRlO, is a female.

25. That plaintiff, JULIA lNlRIO, is of Dominican Republic descent.

26. That since 1995, the plaintiff, JULIA INIRIO, has been employed by the
defendant as a cleaner at the commercial building located at 666 Fifth Avenue, Nevv

York, New York.
27, Starting sometime in 2007, plaintiff`, JULIA lNlRlO, Was frequently Subjected

to discrimination based on her gender by defendant

28. Starting sometime in 2007, plaintiff, JULlA lNIRlO, Was frequently subjected
to discrimination based on her national origin by defendant

29. As a result of plaintiff, JlJLlA INIRIO, being discriminated against at work due

to her gender and national origin, plaintiff was subjected to a hostile work environment

by her co-workers and supervisors

30. As a result of Plaintiff, JULIA lNlRlO’s complaints to her supervisors of
incidents of discrimination and filing a charge With the EEOC for same, she Was
retaliated against by defendant

31. Starting sometime in 2006, Rommie Coward, a co-worker and a foreman,

frequently made comments to plaintiff, SONYA DURAKU, to the effect of “all

 

 

 

 

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Albanians were mafia, and are going to be tired.”

32. Robert Francis, plaintiffs’ supervisor, was aware of Coward’s unlawful

language toward plaintiffs

33. Upon information and belief, neither defendant nor Francis investigated

Coward’s discriminatory and unlawful behavior.

34. Sometime in April 2007, defendant hired William Lee as a supervisor on the

evening shift.
35. Defendant assigned Lee to the same floors as plaintiffs

36. Lee’s_ frequent discriminatory conduct toward plaintiffs SONYA DURAKU,
NIEVES SANCI-IEZ, and JULIA lNlR_IO, created a hostile work environment for
plaintiffs

37. Francis and Lee frequently harassed plaintiffs’, NIEVES SANCHEZ and
JULIA lNlRlO, regarding her Dominican accented English. Francis would frequently

say to plaintiffs “I don’t know what happened to Spanish people . . . they don’t know

how to speak English.”

38. Plaintiff, NIEVES SANCHEZ, also witnessed Francis and Lee make
discriminatory and harassing remarks about her Albanian co~workers, such as,
“Albanians’ smell.”

39. Francis stated to plaintiff, .lULlA INIRIO, on numerous occasions that she was
c‘stupid,” that she “should learn English,” that “Albanians are idiots,” and “Spanish
people are dumb.” 7

40. Francis often made discriminatory comments to plaintiff, NlEVES SANCHEZ,

based on gender and/or national origin. Francis frequently stated to plaintiff, “fire

 

 

 

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everybody because we don’t not want anymore Albanians or their Spanish speaking
friends”

41. When plaintiff, NlEVES SANCHEZ, made complaints to Prancis, he would
state, “all of you women give me a headache - we should fire all of you.”

42. Lee would visit plaintiff, JULIA lNIRlO, while she worked and make harassing
comments regarding his sex life such as, “my weekend was terrible, I got no chicky,
chicky, chicky,” and “things are terrible, my wife will not have sex with me.”

l 43. Lee also made other sexually harassing comments to plaintiff, JULIA lNlRlO,
such as, “your breasts are beautiful,” “you have a beautiful body,” and “my penis is too
small, it won’t scare you.”

44. stating sometime in Apn'i 2007, res began to follow pittman soNYA

_ DURAKU, during work and would sit extremely close to her.

45. Plaintiff, JULIA lNlRlO, frequently observed Lee’s inappropriate behavior
toward plaintiff, SONYA DURAKU.

46. On or about April 23, 2007, Coward stated “we have to stop the Albanian mafia
in this building,” and he also referred to plaintiff, SONYA DURAKU, as a “white bitch.”

47. Omar Lebbara, (first name unknown) Mulaj, Enver Osa, Tony Lucaj, Albert
Asani, and plaintiff, NIEVES SANCHEZ, all employees of defendant, heard Coward

make these comments

48. Plaintiff, JULIA lNIRlO, also heard Coward say that he wanted to get plaintiff,

SONYA DURAKU, “out.”
49. Sometime in early 2007, Coward put a red laser light on the backside of

plaintiff, JULIA lNIRlO, every time she passed him. Plaintiff, SONYA DURAKU,

 

 

 

 

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witnessed Coward do this.

50. Plaintifl`, JULlA- leRlO, confronted Coward sometime in 2007, and asked him
to cease his sexually harassing behavior, but Coward dismissed plaintiff, and stated, “it
was just a joke.”

51. On April 24, 2007, while plaintiff, SONYA DURAKU, was Working With Lee,
he tried to touch the inner thigh of her legs l-le also said, “l can’t stop looking at your
chest _ My wife doesn’t do anything,” and he continued to speak about his lack of a sex
life at home. Plaintiff, SONYA DURAKIl, walked away and told Lee-, “l do not like you
doing that to me.” Plaintiff, NIEVES SANCHEZ, witnessed Lee harass plaintiff,
SONYA DURAKU, that night

52. lmmediately thereafter,l plaintiff SONYA DURAKU, went to the l4lh floor to
speak to Thomas Lloyd, the head of defendant’s supervisors and complained about Lee’s
discriminatory and harassing conduct Lloyd, Jessica Rieves, the building manager, and
Francis discussed the incident with plaintiff, SONYA DURAKU. Lloyd promised
plaintiff, SONYA DURAKU, that he would investigate and resolve the incident.

53. Upon information and belief, neither Lloyd nor Francis investigated plaintiff,
SONYA DURAKU’s complaint

54. A few days later, a. woman from Human Resources held a meeting with
plaintiff, SONYA DURAKU, and Lee. Plaintiff, SONYA DURAKU, did not speak
openly about the incident because Lee was present during the conversation, and plaintiff
was scared and intimidated by him.

55. On April 24, 2007, 'l`ony Lucaj, a former security guard who is Albanian and

worked at defendant’s building, told plaintiff, SONYA DURAKU, that Coward was

 

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saying negative things at the front desk about the “Albanian mafia.” Soon thereafter,

Lucaj had a stroke and never returned to work.

56. On May 4, 2007, Coward stated to plaintiff, SONYA DURAKU; “we will get
rid of all Albanian mafia one by one. Bedri was first, then Bejto, now they got rid of
Tony.”

57. On May 21, 2007, plaintiff, SONYA DURAKU, called in sick and spoke with
Lindsay (last name unknown), a secretary for the defendant The next day, Francis was l
upset with plaintiff, SONYA DURAKU, because he claimed that she never called in sick.

5 8. Upon information and belief, Francis began to retaliate against plaintiff,

SONYA DURAKU, as a result of her complaints of Lee and Coward.

59. ln May of 2007, Francis warned plaintiff, NIEVES SANCHEZ, to stay away
from plaintiff SONYA DURAKU, and Francis stated, “she’s driving me crazy and she is
going to be fired.”

60. ln May of 2007, plaintiff, NIEVES SANCl-IEZ, witnessed Lee follow Martina
Torres, a cleaner for the defendant while she worked Plaintiff`, NlEVES SANCHEZ,
heard L_ee tell Torres that she had a “beautiful chest” and that her “chest [was} so big that-
you could use it as a mop.”

61 . immediately after, plaintiff, NIEVES SANCHEZ, and Torres made a complaint
to Francis about Lee’s behavior. Francis responded by laughing.

62. Sometime thereafter, on several occasions Lee approached plaintiffs NIEVES
SANCHEZ and .lULlA lNlRlO, and unzipped his pants in an effort to show plaintiffs his
penis Lee would then state, “there is nothing to be scared of because my penis is small,”

or, “I have not used it in a long time, because my wife will not do anything for me.”

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Plaintiffs, NIEVES SANCI-IEZ and JULIA lNlRlO, made verbal complaint to Francis

regarding Lee’s unlawful behavior.

63. Upon information and belief, Francis dismissed plaintiffs’ complaints regarding

Lee, and never investigated Lee’s harassing and unlawful behavior.

64. On May 22, 2007, when plaintiff, SONYA DURAKU, was notified that Coward .
was assigned to the same shift as her, she told Francis, her supervisor and the person in
charge of scheduling the shiils, that she could not work with Coward due to his previous
discriminatory and harassing conduct toward her. Francis dismissed plaintiff, SONYA
DURAKU’s concerns and told her to “try very hard, you can do it.”

65. Upon information and belief, Francis purposefully assigned Coward to plaintiff,
SONYA DURAKU’s shift in order to create a more hostile work environment for

plaintiff in an effort to make her quit

66. Starting on May 24, 2007, until the day plaintiff, SONYA DURAKU, was
suspended by defendant Coward, Ali Gurerra, a lobby cleaner, Dia Mortensen, a night
supervisor, security in the lobby, and other tenants began warning plaintiff, SONYA

DUAKU, to be careful because the supervisors and some employees were trying to get

her fired.
67. On May 25, 2007, Lee told plaintiff, SONYA DURAKU, “l can’t stop looking

at your ass and tits.” Plaintiff walked away from him and did not complain to her
supervisor, because her previous complaints about Lee were never addressed

68. Upon information and belief, Lee, in an effort to intimidate and harass the
plaintiff, SONYA DURAKU, repeatedly made sexually inappropriate comments when he

was in plaintiffs presence

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69. Upon information and belief, on May 30, 2007, Ndue “'l`ony” Lucha, a former
midnight porter, complained to Francis that Coward was referring to the Albanian
workers in the building as “Albanian maiia” and also called plaintiff, S'ONYA
DURAKU, a “White bitch.”

70. Upon information and belief, Francis did not investigate Coward’s
discriminatory acts in_an effort to intimidate and harass plaintiff SONYA DURAKU.

71, On June 12, 2007, Lee stated to plaintiff, SONYA DURAKU, “you are not
letting me and Rornmie do our jobs.” Lee then proceeded to falsely accuse plaintiff of
stating “when l leave, I will take all the contracts with me.” Plaintiff informed Lee`that
she never made that comment Lee replied, “you have no power anymore like before and
you should deal with it.”

72. Plaintiff, SONYA DURAKU, immediately informed plaintiff, NlEVES
SANCHEZ, about the conversation A half (1/2) hour later, plaintiff, SONYA
DURAKU, began to have chest pains due to stress. Plaintiff, SONYA DURAKU, also

informed Lee of the same.

73. Later that night, Lee ordered plaintiff, SONYA DURAKU, to leave because he
re-assigned Coward to her overtime shift.
74. Upon information and belief, Lee purposefully denied plaintiff, SONYA

DURAKU’s overtime shifts in retaliation for her complaints against him.
75. Upon information and belief, Lee and plaintiffs’ supervisors had joined efforts

to harass and discriminate against plaintiff SONYA DURAKU, in an attempt to create ,

an environment so hostile, that she would resign

_76. Upon information and belief, sometime in 2007, plaintiff, SONYA DURAKU,

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began to suffer emotionally and physically due to the hostile work environment she was

being subjected to at work.

77. On June 27, 2007, Lee assigned an overtime shift to a cleaner, but Robert
J'ohnson, a porter, took it away from the cleaner, and gave it to himself, in violation of
defendant’s overtime policy. That was the fourth night in a row that Johnson worked an
overtime shift. Lee knew that Johnson' frequently awarded himself multiple overtime

shifts, and permitted him to do so.

78. The following day, plaintiff, SONYA DURAKU, complained to Francis about
Johnson’s behavior.

79. Upon information and belief, Francis did not investigate the situation or punish
Johnson because he is a man and not of Albanian or Hispanic deeent.

80. On June 29, 2007, plaintiff, SONYA DURAKU, took a sick day. That same
day, Coward called plaintiff, SONYA _DURAKU, to tell her that Lee had been asking the
women cleaners if they had the key to plaintiff, SONYA DURAKU’s office

81. Upon information and belief, Lee wanted plaintiff, SONYA DURAKU’s key so
that he could go through her personal items in her locker thereby further harassing and
intimidating her.

82. Upon information and belief, starting in 2007, Francis continuously gave
employees who had less seniority than plaintiff, SONYA DURAKU, more overtime
shifts in order to harass and intimidate her.

83. On July 12, 2007, in violation of defendant and the Service Employees
lnternational Union, Local 32BJ, (hereinafter referred to as “Local 32BJ") policy,

J'ohnson and Coward, both of whom have less seniority than plaintiff, SONYA

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DURAKU, were given the first choice for overtime shifts.

84. Upon information and belief, lohnson and Coward were given preferential
treatment because they are men.

85. On July 16, 2007, Francis called plaintiff, SONYA DURAKU, into his office.
Francis and Amanda Carpenter, the building manager, were also in the office and they
told plaintiff that security complained about her because she brought three (3) people into
defendant’s building the previous Sunday. Plaintiff, SONYA DURAKU, admitted that
the incident did occur, and explained that she did not realize she had violated policy.

86. Over the past twenty-two (22) years, plaintiffs have frequently seen other
security guards and/or cleaning staff bring their family members into the building during
work without being disciplined by defendant

87. That same day, Blain McShall, the assistant building manager, told plaintiff,
SONYA DURAKU, that she was written up for being in tenant space over the weekend
Plaintiff explained that she went into corridor to purchase a soda for her child, which
many of defendant’s employees did on a regular basis without being punished

88. Later that same day, plaintiff, SONYA DURAKU, went to the 14th floor and
complained to Carpenter that Francis targets her to discipline, and never disciplines other
employees, like Johnson, who frequently violate defendant’s alleged building policy.

89. The following day, on July 17, 2007, plaintiff,_ SONYA DURAKU, asked
Francis if he could give her a verbal reprimand before a written reprimand because the
Local 32BJ rules require that an employee’s first violation be verbal Plaintiff also
reminded Francis that other workers bring theirchildren into the building, and that he

never reprimanded them for their alleged violation of defendant’s policy. Francis ignored

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plaintiffs request and comment

90. Upon information and belief, defendant reprimanded plaintiff, SONYA
DURAKU, for bringing her family into defendant’s building, a common practice

amongst other defendant employees, because she is a woman and because she is of

Albanian decent

91. On July 19, 2007, plaintiff, SONYA DURAKU, found Johnson on a floor

where he was not permitted to be.

92. Upon information and belief, Johnson was not reprimanded by defendant for

violating defendant’s building policy because he is a man.

93. On August 28, 2007, Lee told plaintiff, SONYA DURAKU, that Francis is
going to be cutting back on her overtime shifts, and that he will give Coward, Chuck Sin,

a porter, and Johnson more overtime shifts instead. Mulaj, an employee of defendant

was present for this conversation

94. On August 31, 2007, at l:lSAl\/l, Lee, Lebbara, and plaintiff, SONYA
DURAKU, were at the messenger center, and Lee began to stare at plaintiffs chest Lee

said, “l can’t stop looking at your chest.” Plaintiff attempted to ignore the comment

Lebbara also heard Lee make this comment

95. Later that night, Lee said to plaintiff, SONYA DURAKU, “all night l was
getting off looking at your boobs,” and then Lee tried to touch plaintist legs. Plaintiff
immediately told Lee to stop and that he was making her feel uncomfortable

96. Soon there after, plaintiff, SONYA DURAKU, made a complaint to Francis

about Lee’s sexually harassing behavior. Plaintiff, SONYA DURAKU, also informed

plaintiff, NiEVES SANCHEZ, about the incident.

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97. Upon information and knowledge Francis did not investigate the complaint or
discipline Lee

98. Upon information and belief, defendant did not investigate Lee’s sexually
unlawful behavior in order to foster a hostile work environment toward plaintiffs.

99. On September 22, 2007, plaintiff, SONYA DURAKU, witnessed David (last
name unknown), from the security department go into defendant’s building, the same
building plaintiff works in, with his girlfriend who is not designated to enter the building

lOO. Upon information and belief, David was never reprimanded for bringing a non-

employee into the building because he is a man.

lOl. On September 24, 2007, Lee continued to sexually harass plaintiff, SONYA
DUR_AKU, at work. Lee made comments to plaintiff such as, “your ass looks so good,”

and “I wish that you were my wife, because my wife looks old and never changes her

clothes and wears big sweat pants.”

102. Plaintiff, SONYA DURAKU, again made complaints to Francis, and asked him

to change Lee’s shift Francis refused to comply with plaintiff, SONYA DURAKU’s

request

103. Upon information and belief, Francis purposefully disregarded plaintiff,
SONYA DURAKU’s complaints and failed to investigate Lee’s behavior because he

wanted Lee to harass plaintiff, SONYA DURAKU.

104. Also on September 24, 2007, plaintiffs, NIEVES SANCHEZ and JULIA
INIRIO, in addition to, Sedet Shabani and Mulaj, told plaintiff, SONYA DURAKU, that

they saw Lee go into her office

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105. Upon information and belief, Lee got a key to plaintiff, SONYA DURAKU’s
office because Francis gave Lee a copy of the key, and Lee made a copy for himself and
Coward.

106. Plaintiff, SONYA DURAKU, complained to Francis about Lee’s invasion of

her privacy. Francis, Lee’s supervisor, told plaintiff he could not stop Lee from going

through her locker.
107. On December l, 2007, Lee told plaintiff, SONYA DURAKU, that he needs to

know where she is at all times during her work shift Lee’s comment made plaintiff feel

very uncomfortable, especially because she had more seniority than him.

lUS. That same day-, Lee went into plaintiff`, SONYA DURAKU’s office and he left _
the office door open. When plaintiff confronted him about it, he said “I was in there
looking and feeling your pictures.” Immediately thereafter, plaintiff started to cry
because the majority of the pictures in her office are of her two (2) daughters

l(l9. On October 16, 2007, Lee called plaintiff, SONYA DURAKU, over the radio
while she was in the bathroom Lee asked plaintiff for her location, and plaintiff
responded that she was “busy.” Later when plaintiff radioed him back, he said, “l need to

know where you are at all times because l am the boss.” Lee then began to call plaintiff

over the radio on an hourly basis for her location status.

llO. While` Lee and plaintiff, SONYA DURAKU, worked together, he would
frequently call her over the radio when he knew she was in the restroom. He would
proceed to ask plaintiff over the radio if she was, “going number one (l) or number (2).”

lll. Plaintiff, SONYA` DURAKU, made complaints to Francis regarding Lee’s

COIIlI'l'I€I]iS .

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ll2. Upon information and belief, Francis did not investigate or discipline Lee’s
discriminatory and hostile behavior.

llB. On November 8, 2007, plaintiff, SONYA DURAKU, told Lee that she had to
stay and clean the 23rd floor, at the request of the tenant He said, “l’ll tell you if you can
stay or not.” Soon thereafter, Lee told plaintiff, “I think you can stay so you can’t go
home and have sex with your husband.” Plaintiff immediately told Lee not to speak to
her like that Lee proceeded to say, “which way do you do it? Left? Right? Upside-
down? This way l can dream about it when l get home.”

il4. Plaintiff, SONYA DURAKU, walked away from Lee, and immediately told
plaintiff, NIEVES SANCHEZ, and Mulaj about the conversation because she was
extremely emotionally disturbed by his comments

llS. On November l6, 2007, Lee began making sexually inappropriate comments in
the women’s locker room. Lee’s comments revolved around how large his penis was and
how heavy his balls were. 'l`he women told him to stop, and he would say “sorry,” but he
immediately continued to make more inappropriate comments Plaintiffs, SONYA
DURAKU, NIEVES SANCHEZ, and JULIA lNlRIO, in addition to Shabani,rI-lava
Cobovic, l\/lartina, Giovanna Lam`ay, Violetta Vokovic, Embejia Kucana, and Martina
Torres all heard Lee make these comments

lld. Later that same day, plaintiff, SONYA DURAKU, told the women in the locker
room that she Would report the Lee’s sexually explicit and harassing comments to
management Plaintiff made complaints to Francis and McShall about Lee’s behavior.
Francis tried to dismiss Lee’s behavior. McShall got mad and said, “l do not want to hear

what they (meaning the women in the locker room who heard Lee’s comments) have to

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say. Tell them to go to Bob Francis because l will not fire him just because they say so.”

117. On December 13, 2007, Francis called plaintiff, SONYA DURAKU, and told
her that Lee admitted to accusations concerning his sexually inappropriate behavior at
work, and that Lee had been fired.

llS. Soon thereafter, Francis, Carpenter, and Miguel Corporan, a day foreman,
started to retaliate against plaintiff`, SONYA DURAKU, by continuing to perpetrate the
hostile work environment which Lee had previously orchestrated

119. Upon information and belief, Francis, Carpenter, and Corporan retaliated .
against plaintiff, SONYA DURAKU, by harassing her because she is a woman, of
Albanian decent, and because of the complaints she made of Lee prior to his termination

120. Upon information and belief, throughout 2007, Francis’s retaliation toward
plaintiff, SONYA DURAKU, included but is not limited to fabricating stories concerning
plaintiff, not investigating complaints on her behalf, denying her overtime shifts,
encouraging co-workers to harass her, stealing her personal items, and demoting her. j

121. Starting in January of 2008, Francis became highly critical of plaintiffs,
NIEVES SANCI-IEZ and JULIA INlRIO’s work, and when either made complaints to
him, Francis frequently stated, “l’m the boss, and l can do what I want.”

122. On January l, 2008, Carpenter brought in a cheap polyester suit and required
plaintiff, SONYA DURAKU, to wear it. The suit did not fit piaintiff, but Carpenter
forced her to wear it. Prior to this, plaintiff always wore her own professional suits to
work, as did other fore-people immediately thereafter, plaintiff, SONYA DURAKU,
informed plaintiffs, NIEVES SANCHEZ and .lULIA lNIRIO, in addition to Mulaj, lnirio,

and Shabani, about the humiliating uniform she had to wear as a foreperson.

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123. Upon information and belief, plaintiff, SONYA DURAKU, was the only
foreperson that was asked to wear the blue polyester suit.

124. Upon information and belief, Carpenter required plaintiff, SONYA DURAKU,
wear the suit in order to publicly humiliate her at work. 7

125. On May 15, 2008, Francis removed five hours of overtime work from plaintiff`,

SONYA DURAKU’s paycheck for the prior two weeks

126. On May 23, 2008, Francis removed additional overtime hours from plaintiff,
SONYA DURAKU’s paycheck When plaintiff complained to Francis, he promised to
repay plaintiff, but plaintiff has never been paid for those overtime hours worked

l27. Francis regularly failed to pay plaintiffs SONYA DURAKU and NIEVES
SANCI-IEZ, for all the overtime hours they worked

128. Upon information and belief, Francis repeatedly fails to compensate plaintiffs,

SONYA DURAKU and JULIA lNlRIO, for all hours worked in order to further harass

and discriminate against them.

129. -On June 3, 2008, plaintiff, SONYA DURAKU, told Francis that one of
defendant’s tenants requested she complete extra cleaning work after regular hours,
which would be paid at the overtime rate. Francis replied, “not you, that’s a man’s job,”
and Francis gave plaintist overtime shift to Coward, a male

130. Upon information and belief, Francis assigned the male and/or non-minority
cleaners overtime shifts in an effort to discriminate against the female, minority cleaners

131. On June 12, 2008, plaintiff, SONYA DURAKU, had hours missing from her

paycheck.

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132, On June 17, 2008, Francis told plaintiff, SONYA DURAKU, that he removed
her Saturday shifts because Orrick, a tenant in defendant’s building, cancelled it.
Plaintiff Was only given a few days notice; however, typically forepersons are given one

(l) month notice when a shift is permanently cancelled

133. On June l9, 2008, plaintiff, SONYA DURAKU, needed to assign a cleaner to
an overtime shift because a tenant requested a task be completed during overtime hours
Plaintiff, SONYA DURAKU, assigned plaintiff, NIEVES SANCHEZ, the overtime shilt;
however, a daytime foreman also assigned the same overtime shift to Sandra, a cleaner.

That same day, Francis called plaintiffs, SONYA DURAKU and NIEVES SANCHEZ,

into his office and screamed at them.

134. On June`l9, 2008, Francis suspended plaintiff, SONYA DURAKU, for two (2)
days because she gave the overtime shift to plaintiff, NIEVES SANCl-IEZ. This was the
first time plaintiff SONYA DURAKU, had been suspended in the twenty-two (22) years

she worked for defendant

135. Previously, plaintiff, SONYA DURAKU, as a foreperson, was permitted to
assign cleaners to overtime shifts without approving the assignment with senior
management; however, Francis now began to deny plaintiff the authority to do this.

136. That same day, plaintiff, SONYA DURAKU, made complaints about Francis’s

discriminatory, harassing, and retaliatory conduct to Angel Gonzalez, a union delegate

from the Local 32BJ.

137. Upon information and belief, Gonzalez did not investigate plaintiffs

complaints

138. Upon information and belief, Christopher Walsh, an employee of Orn`ck, who is

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a tenant in defendant’s building, sent Francis an email stating that he was disappointed
that plaintiff, SONYA DURAKU, had been suspended; healso called the owner of the
building, Charlie Cushner, to express his disapproval over plaintiff’s suspension
Cushner assured Walsh that he would take care of the situation Angelica (last name
unknown), the secretary to Cnshner confirmed to plaintiff, SONYA DURAKU, that this
conversation took place because she works in Cushner’s office and overheard -the
conversation

139. Upon information and belief, on June 20, 2008, Vinny (last name unknown),
who works for Millenniurn, a tenant in defendant’s building, asked Francis why he had
suspended plaintiff SONYA DURAKU. Francis told him that “she has to learn how to
respect me.” Vinny called plaintiff, SONYA DURAKU, that same day and informed her
about his conversation with Francis.

l40. Upon information and belief, Corporan also had a conversation with Francis
concerning plaintiff, SONYA DURAKU. Francis told him that “there is a lot more bad
news coming for Sonya.” Corporan later told Jeneette about this conversation, and
Jeneette relayed the conversation to plaintiff, SONYA DURAKU.

141. On June 23, 2008, plaintiff, SONYA DURAKU’s first day back to Work after
her suspension, Francis told plaintiff that he received complaints from tenants concerning
her alleged new habit of pressuring tenants to schedule cleaning jobs during overtime
shifts. Plaintiff immediately denied these accusations, and insisted that she now preferred
to avoid overtime shifts because it always resulted in further harassment from Francis.

l42. That same day, plaintiff, SONYA DURAKU, called Gonzalez, from Local

32BJ, and cancelled the meeting, which she previously scheduled to discuss the back-pay

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she was owed from defendant Plaintiff cancelled the meeting because she was scared of
the potential retaliatory reaction from Francis.

143. On June 24, 2008, (first name unknown) Matos, an employee of the Victoria
Secrets, a tenant in defendant’s building, called plaintiff, SONYA DURAKU, and
complained about Francis’s disrespectful attitude. l\/latos stated that Francis questioned
him as to why he requested certain cleaning jobs be done after hours. Matos replied,
“that’s how l was told [to schedule it] by my boss.” Francis then ordered Matos to not
give any overtime work to plaintiff, SONYA DURAKU. Matos and his boss later
lrelayed this conversation to plaintiff, SONYA DURAKU. l\/iatos also spoke to plaintiffs,
NIEVES SANCHEZ and JULIA INIRIO, and Mulaj about Francis’s behavior.

144. On July 9, 2009, Corporan called plaintiff, SONYA' DURAKU, into a room
where he was watching pornographic videos so she could watch it With him. Plaintiff
informed him that it made her feel very uncomfortable and annoyed. Corporan also
showed these videos to Jenette, Mulaj, and plaintiff JULIA INIRIO.

145. Gn luly l(), 2008, Francis walked into the woman’s locker room, where
approximately thirty (30) women had congregated. When the women saw Francis, they
started to complain about the ripped upholstery on the chairs in their locker room.
Francis proceeded to scream in a fit of rage at them stating, “next time Sadete and Juila
speak, l will suspend theml” He then proceeded to scream, “Nieves, do you know what l
would really like to do? l’d like to fire half the staff in this building.” Plainiffs, SONYA
DURAKU, NIEVES SANCHEZ, and JULIA INIRIO, Ali, Carrnnen, Ad, and Julia Palio

were all present in the locker room during this incident.

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146. On July ll, 2008, Matos,` who works for Victoria Secrets, a tenant in
defendant’s building, gave plaintiff, SONYA DURAKU, a cleaning request to be
completed during overtime hours. Plaintiff relayed the request to Mortensen, and
Mortensen told her that Francis said “anyone' can do overtime shifts except for you
[Sonya Duraku], because you [Sonya Duraku] hide overtime work from others.”
Mortensen then radioed Francis in front of plaintiff, SONYA DURAKU, about the
overtime request from Matos. Francis replied over the radio, which plaintiff, SONYA
DURAKU, heard, and directed plaintiff to call the tenant and lie that she could not do the
overtime request because She had other work to do. Mulaj also witnessed this encounter.

147. Plaintiff, SONYA DURAKU, was called into Francis’s office for a meeting
later that day. Francis told plaintiff that she was no longer permitted to take the XYZ car
service home. Defendant permitted the fore-people to take this car service home when
working aher hours, but Franci_s now denied plaintiff, SONYA DURAKU,this privilege

148. Upon information and belief, Francis denied plaintiff, SONYA DURAKU,
defendant’s privilege of using the car service in retaliation for her continued complaints
of discrimination

149. On luly 14, _2008, Francis told plaintiff JULIA lNlRlO, that he Wants to fire all
cleaning ladies and hire only men from now on. Additionally, Francis said that he wants
to put all the women in one room and “burn them.” Plaintiffs all were present for this
conversation as was Mortensen and Mili Acosta, an employee of defendant

150. On July 15, 2008, Johana Thorman, the executive assistant to the President and
CEO of Henri Bendal, one of defendant’s tenants, wrote an email to Matos praising

plaintiff, SONYA DURAKU’s work and expressing disappointment that she was not

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assigned to more overtime cleaning shifts.

l51. On August l, 2008, Matos called plaintiff, SONYA DURAKU, and told her that
Corporan came to speak to him. Corporan told Matos that plaintiff, SONYA DURAKU,
was not a good foreperson and that she overcharges tenants for cleaning services
Corporan also requested that Matos not disclose the conversation to plaintiff

152. Upon information and belief, Corporan purposefully spread lies about plaintiff,

SONYA DURAKU, in retaliation of her complaints of discrimination and in an effort to

have her fired.

153. Later that same day, several cleaners and "l`ed (last name unknown), a security

guard, told plaintiff, SONYA DURAKU, that the supervisors are recording all of the calls

on her company phone.

154. Upon information and belief, plaintiff, SONYA DURAKU’s supervisors
recorded her phone calls in retaliation for her complaints of harassment, discrimination,

and hostile work environment

155 . On august 21, 2008, Angelica told plaintiff, SONYA DURAKU, that Carpenter
confirmed to her that Francis is trying to get plaintiff, SONYA DURAKU, fired.

156. On August 25, 2008, plaintiffs.received a gift of a barrel of candies from a
tenant Plaintiffs also had a building pass for the gift which allows them to remove the
item from defendant’s building Plaintiffs did not remove the candles from the building
that night, but instead, placed the barrel in the women’s locker room. On August 27,
Francis accused plaintiff, SONYA DURAKU, of stealing the barrel from a tenant
Carpenter and Mongelo were also present during this meeting Plaintiff explained that

she was issued a pass, but Francis refused to examine the building pass. Francis also

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accused plaintiff, SONYA DURAKU, who is a married woman, of having an intimate

relationship with Matos.

157. Upon information and belief, Francis wrongfully-accused plaintiffs, SONYA
DURAKU and NIEVES SANCHEZ, of stealing, and refused to examine their building

pass in an effort to intimidate and harass plaintiffs

158. Upon information and belief, Francis wrongfully accused plaintiff, SONYA

DURAKU, of infidelity in order to harass and humiliate her in front of her superiors and

co»workers.

159. On August 28, 2008, Francis filed a “notice of reprimand,” against plaintiff,
SONYA DURAKU, claiming that she violated defendant’s policy on August 26§}‘ by
accepting gifts from a tenant, which is common practice amongst defendant’s employees
that supervisors are aware of and do not reprimand employees for. The complaint also

states that plaintiff concealed the gift in a trash container.

160. On October 6, 2008, Francis called plaintiffs SONYA DURAKU and NIBVES
SANCHEZ, into his office. Francis wrongfully accused plaintiffs SONYA DURAKU
and NIEVES SANCI-IEZ, of harassing a new cleaning women, meaning Sandra Montee,
who was the only new employee at the time. Montee was a cleaner that Francis hired

161. Upon information and belief, Montee regularly accepts gifts from defendant’s
tenants, and Francis is aware that Montee regularly accepts of gifts from tenants

162. Upon information and belief, Francis does not reprimand Montee because she is

not of Albanian or Hispanic decent and because she has not made previous complaints of

harassment or discrimination

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163. Upon information and belief, on October lS, 2008, Carpenter told ira Bloom,

one of defendant’s head supervisors that plaintiff, SONYA DURAKU, steals from
tenants and that she is a bad worker. Angelica overheard the conversation in the office,

and later conveyed this message to plaintiff, SONYA DURAU.

164. Upon information and belief, Carpenter lied to Bloom in order to get plaintiff,
SONYA DURAKU, fired Carpenter’s acts against plaintiff were in retaliation of

plaintiff’ s complaints of harassment

165. ln the fall of 2008, plaintiff, NIEVES SANCHEZ, complained to Francis about

the discriminatory, harassing, and retaliatory manner in which he treats hcr.

166. When Francis’s demeanor toward plaintiff, NIEVES SANCHEZ, remained the
same, plaintiff made complaints to Carpenter regarding Francis’s treatment toward her.
167. A few days after plaintiff, NIEVES SANCl-IEZ, made complaints to Carpenter,

about the sliced cushion and broken desk chair in'her office.
168. Upon information and belief, Carpenter ignored plaintiff, NIEVES
SANCHEZ’s complaints in retaliation for plaintiffs previous complaints to defendants of

harassment, discrimination, and a hostile work environment

169. On October 16, 2008, Francis told plaintiff, SONYA DURAKU, a foreperson,
that she has to wear the same uniform that the cleaners wear. No other forepeople, except

for plaintiff, at defendant’s building are required.to wear a cleaning unifoim.

170. Upon information and belief, Francis forced plaintiff, SONYA DURAKU, to

wear a cleaning uniform in order to humiliate her at work and in retaliation for her

complaints of harassment and discrimination

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l7l. On October 22, 2008, plaintiff, SONYA DURAKU, received a threatening
phone call on her mobile work telephone A man’s voice stated “your day is coming very
soon. You should watch it because they are going to hurt you.” Plaintiff`, SONYA
DURAKU, received the call while l was at work, and plaintiff immediately informed

Carpenter about the threatening call. Carpenter took plaintiffs mobile telephone so she

could monitor the calls

l72. On October 23, 2008, Mortensen informed plaintiff, SONYA DURKAU, that
her new uniform is in plaintiff, NlEVES SANCHEZ’s desk. Wherr plaintiff, SONYA
DURKAU, went to retrieve the uniform, it was crumpled in a ball and completely
wrinkled. Plaintiff, SONYA DURAKU, immediately called Carpenter and asked if she
could wash and iron it before she wore it. Carpenter said she had to speak to Francis.
Francis then called plaintiff, SONYA DURAKU, into his office, and he forced plaintiff,

SONYA DURAKU, to wear the wrinkled cleaners' uniform.

173. Upon information and belief, Francis forced plaintiff, SONYA DURAKU, to
wear a cleaning uniform in order to humiliate her at work and in retaliation for her

complaints of discrimination and harassment

174. On October 24, 2008, plaintiff, SONYA DURAKU, received a radio call to
report to the lobby for a telephone call. Once in the lobby, Ted (last name unknown), the
security guard, put the call on speaker phone, and the caller stated, “l’m going to hurt you
bitch.” Plaintiff reported the call to Carpenter that day, and Carpenter told Ted to file a
written report The following Monday, Ted told plaintiff that Albert Shin and Carpenter

made him change the report four (4) times according to their demands Ted also told

plaintiff to “be careful because they want to fire you.”

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175. Also on October 24, 2008, plaintiff, IULIA- INIRIO, was suspended without
pay. Plaintiff had never been disciplined by the defendant and only was disciplined after

making complaints of Lee and Francis’s harassing and discriminatory behavior toward

her.
176. on october 27, 2008, putnam soNYA DURAKU, and a report regarding

additional threatening telephone calls she was receiving

177. On November 15, 2008, Jerry (last name unknown), a security guard, told
plaintiff, SONYA DURAKU, that she received multiple threatening telephone calls on
her company mobile telephone, and that Carpenter was concealing them from her.
Plaintiff, NIEVES SANCHEZ, also informed plaintiff, SONYA DURAKU, that same
day that Francis had been askingthe employees for her horne telephone number. Robert,
a security guard, also informed plaintiff, SONYA DURAKU, that Shin (last name
unknown)., an employee of defendant,asked him for plaintist home telephone number.

178. Upon information and belief, Francis wanted plaintiff, SONYA DURAKU’s

home telephone number so that he could make threatening and harassing telephone calls

at her home.

179. On November 10, 2008, Francis called plaintiffs SONYA DURAKU and
NIEVES SANCHEZ, into his office. He had a recorder and a tape, and he proceeded to
ask plaintiffs if they knew what was on the tape. Both plaintiffs responded “no.” Francis

then suspended plaintiffs, SONYA DURAKU and NIEVES SANCHEZ, pending an

investigation

180. Prior to plaintiff, NIEVES SANCHEZ, making complaints of Lee and Francis’s

treatment toward her, she had never been suspended

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181. From November ll, 2008, until June l, 2009, plaintiff, NIEVES SANCHEZ,
took an extended leave of absence for medical reasons, unrelated to this matter.

182. Sometime in ZO(lS, Carmen _Alinanza, a foreperson and shop steward, screamed
l that all Albanian’s are mafia, that they should all be fired because they smell and that the
cleaners have to use Lysol to kill their smell because they contaminate the locker room.
Almanza also threw chairs across the locker room while she said this. Plaintiffs, SONYA
DURAKU, NIEVES SANCHEZ, and JULIA INIRIO, were present during this tit of rage
as was, Shabani, Dabi, Cobovic, Mulaj, and Balic.

183. Plaintiffs reported Almanza’s behavior to Francis.

184. Upon information and belief, Francis and Mortensen did not investigate and/or
discipline Almanza in an effort to maintain the hostile work environment for plaintiffs
185. Two weeks after plaintiff, SONYA DURAKU, was suspended, and defendant

hired Jocelyn Liriano, Almanza’s best friend, as a cleaner.

l86. On or about lanuary 20, 2009, plaintiffs, SONYA DURAKU, NIEVES
SANCHEZ, and .TULIA lNIRIO, filed a Charge of discrimination based on gender and

national origin, hostile work environment, and retaliation against defendant with the

EEOC.
l87. On February 2, 2009, plaintiff, SOl\lYA DURAKU, returned to work after her

suspension Upon plaintiff, SONYA DURAKU’s return, defendant demoted her from a
foreperson to the position of cleaner. As a cleaner, plaintiff is paid less and has rnore
difficult job duties. Defendant also promoted Almanza to the position of foreperson,

replacing plaintiff, SONYA DURAKU.

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188. Upon information and belief, defendant retaliated against plaintiff, SONYA
DURAKU, by demoting her as a result of her filling a Charge with the EEOC.

189. Upon plaintiff, SONYA DURAKU’s return to work after her suspension,
Liriano confronted plaintiff, SONYA DURAKU, and stated “l am going to get you” and
“l’m going to hurt you.”

l90. Plaintiff, SONYA DURAKU, reported Liriano’s comments to Mortensen.

Ivory Coles, Mortensen’s supervisor, was present during the report

191. Upon information and belief, Mortensen did not investigate plaintiff, SONYA
DURAKU’s complaints or discipline Liriano’s for her unlawful and harassing conduct.

192. While plaintiff, SONYA DURAKU, was on suspension, half of her items were
removed from her locker and condoms were placed amongst her personal items in her
locker. Plaintiff, SONYA DURAKU, reported this to Susan Sherrnan, a Local 32BJ

delegate, Jodi Goodman, a Local 32BJ attorney, Mortensen, and Coles.

193. Upon information and belief, defendant did not investigate plaintiff, SONYA
DURAKU’$ complaint regarding the theft of her locker items in order to elevate the
hostility of her work environment in an effort to make plaintiff quit her job.

194. From February of 2009 to present, 'Mortensen began to overtly scrutinize

7 plaintiffs, SONYA DURAKU and JULIA INRIO, work in order to find fault

195 . Upon information and belief, Mortensen retaliated against plaintiffs as a result

of their filling Charges against defendant with the EEOC.

196. In February of 2009, Mortensen retaliated against plaintiff, SONYA DURAKU,

by threatening to write her up for wearing pants under her work uniform at work.

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197. Upon information and belief, the majority of defendant’s cleaners wear pants

under their uniforms, especially during the winter, and Mortensen does not discipline any

cleaners, except for plaintiff, SONYA DURAKU, for wearing pants under their uniforrn.

198. ln February of 2009, plaintiffs, SONYA DURAKU and IULIA INIRIO, were
exiting work with shopping bags when Mortensen saw plaintiffs, and forced them to

throw all of their personal items from the bags on the floor so he could examine the

plaintiffs’ belongings immediately prior to this incident, two other cleaners walked

passed Mortensen with shopping bags, and Mortensen did not inspect their bag or harass
them. l

199. Upon information and belief, Mortensen retaliated against plaintiffs, SONYA
DURAKU and JULIA iNIRlO, for filling a charge with the EEOC by humiliating them
and forcing them to empty their bags in front of the other cleaners.

200. On April 29, 2009, Liriano approached a group of cleaners, including, plaintiff,
SONYA DURAKU, Shabani, and Alrnanza. Liriano then began to scream “l’m going to
kill someone in this building, and the police are the only thing that can stop me.”
Almanza, Liriano’s supervisor, did not stop or discipline Liriano for her harassing and
unlawful comments Soon thereafter, plaintiff, SONYA DURAKU, reported the event to
Mortensen and Coles.

201. Upon information and belief, neither Mortensen, Coles, nor Almanza conducted
an investigation into plaintiff, SONYA DURAKU’s complaint of Liriano in an effort to
hcighten the hostile work environment for plaintiffs

202. On May 4, 2009, Liriano threatened plaintiff, SONYA DURAKU, by stating “I

am waiting to get you real soon.” 'fhe next day, Liriano admitted to Coles that she

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threatened plaintiff, SONYA DURAKU, and Coles relayed the admission to plaintiff
203. Upon information and belief, Coles did not discipline Liriano for her
threatening behavior and comments toward plaintiff, SONYA DURAKU, in order to
intimidate plaintiff and in retaliation for the Charges that plaintiffs filed with the EEOC.
204. Orr June l, 2009, when plaintiff, NIEVES SANCI-IEZ, returned to work after an
extended leave of absence, Mortensen informed her that her duties had significantly
changed Plaintiff was now assigned to clean, orr a daily basis, half (1/2) of the S‘h floor

in addition to twenty-one kitchens ranging from the Sth to 38“‘ floors in eight (8) hours

Plaintiff’s previous assignment was to clean only the 10th tloor. 'l`ypically, defendant’s

cleaners were only expected to clean half (1/2) of a floor in six (6) hours and one (l)
kitchen per half (1/2) hour, totaling four (4) kitchens per day. l

205. Upon information and belief, defendant substantially increased plaintiff,
NIEVES SANCI-IEZ’s duties in retaliation for her filing a charge with the EEOC.

206. On June 3, 2009, Liriano assaulted plaintiff, JULLA INIRIO, in the lobby by
body slamming her against the glass door. rl`here were multiple witnesses to this event
including, plaintiff, SONYA DURAKU, plaintiff, SONYA DURAKU’s husband, and the
lobby security guards on staff that night

207. Upon information and belief, defendant did not investigate Liriano’s harassing
and unlawful behavior iri order to intimidate and scare plaintiffs, NIEVES SANCI-I_EZ
and SONYA DURAKU. l

- 208. On June 25, 2009, Mortensen, Almanza, and Cruz approached plaintiff,
NIEVES SANCHEZ, on the SH' floor while she was working and told her she had to, in

addition to her overwhelmingly large work load, clean the stairways on the 8th and 9th

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floors and sweep the corridors on the Sth floor. Plaintiff told her supervisors that it was

impossible for her to complete all that work in one (1) day. Plaintiff then requested that

Mortensen give her a written statement detailing what sections she had to clean, which

defendant provided to all its cleaners Mortensen refused fulfill plaintiffs request

209. Upon information and belief, Mortensen refused to write plaintiff, NIEVES
SANCHEZ’s duties down because he intended to increase her duties periodically iri

retaliation for her filing a complaint with the EEOC. l
210. Plaintiff, NIEVES SANCHEZ, made a written complaint to the Local 32BJ
regarding defendant’s increasing her workload.

211. Upon information and belief, Local 32BJ did not investigate plaintiff, NIEVES

SANCHEZ’s complaint
2l2. On July 8, 2009, while plaintiff, NIEVES SANCHEZ, was working, she noticed

that someone had placed items from defendant’s tenants in her cleaning cart. Plaintiff_

immediately called Benny, the shop steward, and informed him of the incident.

213. Upon information and belief, plaintiff, NIEVES SANCHEZ’s supervisors

intentionally placed items on plaintiffs cart in an effort to get her fired for stealing from

the tenants

214. On July 13, 2009, while plaintiff, NIEVES SANCHEZ, was working, Almanza
came to her floor and witnessed plaintiff speaking on the telephone through an earpiece
while she worked. Almanza reported plaintiff to Mortensen for using the telephone while

working Mortensen issued plaintiff a warning, and told her if it occurs again, she will be

suspended

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215. Upon information and belief, it is common policy for defendant’s cleaners to
speak on their personal telephone’s via Bluetooth while working; however, Almanza and
Mortensen targeted plaintiff, NIEVES SANCHEZ, and issued her a warning in retaliation

for her filinga complaint with the EEOC.

216. in August of 2009, Ling, a cleaner for defendant, told plaintiff`, NIEVES

SANCHEZ', that she reported to Alnianza that Ada (last name unknowrr), another cleaner,

was talking orr the telephone while working.

217._ Upon information and belief, Almanza did not report Ada to Mortensen because

Ada did not filed a report with the EEOC against defendant

218. On August 24, 2009, plaintiffj SONYA DURAKU, returned to work after five
(5) weeks of vacation, and her locker lock had been clipped, all of her items had been
removed, and a new lock was on the locker. -Plaintiff made complaints to Mulaj the
following day.

219. Upon information and belief, that same day, Mulaj questioned Mortensen about

plaintiff, SONYA DURAKU’s, missing items, and Mortensen promised plaintiff that all

of her items were in his office.

220. On August 26, 2009, plaintiff, SONYA DURAKU, claimed her items from

Mortensen, but may of plaintiff s personal items, including pictures of her children and a

DVD player were missing

221. Upon information and belief, Mortensen purposefully removed items from

plaintiff, SONYA DURAKU’s locker in order to further harass her and in retaliation of

her filling a complaint with the EEOC.

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222. On September 24, 2009, Liriano assaulted plaintiff`, SONYA DURAKU, in the
hallway at work iii front of multiple co-workers, including plaintiff`, .lULlA lNlRlO, and
foreperson, Emina Vukic. Liriano ripped plaintiffs bag from her shoulder. Mortensen
interrupted the dispute, and Liriarro immediately denied any wrongdoing

223. Immediately thereafter, Liriano approached plaintiff`, JULIA lNIRlO, who was

still in the hallway, and hit her on the chest Liriano then proceeded to say, “you mother

fucker, why don’t you go complain about it to your boss.”

224. Later that same day, plaintiffs, SONYA DURAKU and JULIA INIR,IO, made
complaints to Mortensen in his office. Mortensen said to plaintiff`, SONYA DURAKU,
that Vukic, an employee of defendant, gave a statement to Mortensen verifying that
Liriano attacked plaintiff, SONYA DURAKU.

y 225 . Upon information and belief, Mortensen did not discipline Liriano for assaulting
plaintiffs

226. Upon information and belief, Local 32BJ was provided with several
opportunities to file a grievance against defendant on behalf of plaintiffs for
discrimination hostile work environment, and retaliation, but 32BJ has chosen not to do
so.

227. Throughout the course of the plaintiffs’ employment with the defendant,
plaintiffs’ have been repeatedly discriminated against based on their gender and national
origin, which has resulted in a hostile work environment Plaintiffs have been subjected
to such discrimination over the course of three years, and made various complaints to

their supervisors, Francis, Mortensen, and Almaiiza, concerning the hostile and offensive

sexual harassment

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228. Upon information and belief, plaintiffs’ supervisors have ignored plaintiffs’
complaints of discrimination and thus permitting a hostile work environment to flourish
and plaintiffs’ workplace

n 229. Throughout the course of the plaintiffs’ employment with the defendant, in
addition to plaintiffs’ co-workers, plaintiffs’ supervisors, Francis, Mortensen, and
Almanza, have also repeatedly harassed plaintiffs based on their gender and national
origin

230. As set forth above, plaintiffs’ supervisors created a hostile work environment
that permeated the plaintiffs’ workplace with discriminatory intimidation, ridicule and
insult, that is so severe and pervasive, that it interfered with the essential functions of
plaintiffs’ job and has served to create an abusive atmosphere Further, the defendant’s
refusal to address plaintiffs’ repeated complaints of discrimination based on gender and
national origin, has only served to exacerbate the situation as it has permitted the
discriminatory conduct to continue in an unabated 1fashion._ The hostile work

environment and retaliatory treatment, to which plaintiffs have been subjected to, and the

defendant’s failure to prevent or correct the same, even it received plaintiffs’ complaints,

constitutes a violation of Federal, State and City law.

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AS AND FOR A FIRST CAUSE OF ACTION ON
BEHALF OF PLAINTIFFS SONYA DURAKU
NIEVES SANCHEZ,l AND JULIA INIRIO2 FOR

DISCRIMINATION BASED ON GENDER UNDER TITLE VII
AGAINST THE DEFENDANT

231. Plaintiffs repeat and reallege each and every allegation contained in paragraphs

“l" through “230" of the Coinplaint, with the same force and effect, as if fiilly alleged

herein.

232. By the acts and practices described above, including but not limited to creating

a hostile work environment for ignoring plaintiffs’ complaints of discrimination, the

defendant discriminated against the plaintiffs in the terms and conditions of their

employment on the basis of their gender, in violation of Title VII.

233. Defendant and its agents and individuals under its supervision and control,

failed to take prompt and efficacious action to prohibit, prevent or discourage such

conduct, and accordingly, accepted, ratified and authorized this activity, and thereby `

caused the creation of a work environment which was hostile.

234. Plaintiffs are now suffering and will continue to suffer irreparable injury and

monetary damages as a result of the defendant’s, failure to' correct its workers

discriminatory behavior.

235. Defendant acted intentionally and with malice and/or reckless indifference to

plaintiffs’ federally protected rights
. 236. Any alleged reason for defendant’s incidents of discrimination is nothing more

than a pretext so that the defendant and its agents may attempt to mask their unlawful

actions.

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AS AND FOR A SECOND CAUSE OF ACTION ON
BEHALF 0F PLAINTIFFS, SONYA DURAKU,

' NIEVES SANCHEZ. AND J'ULIA INIRIO, FOR
DISCRIMINATION BASED ON NATIONAL ORIGIN UNDER TITLE VII
AGAINST THE DEFENDANT

237. Plaintiffs repeat and reallege each and every allegation contained in paragraphs
"l“ through “236“ of the Complaint, with the same force and effect, as if fully alleged
herein.

238. By the acts and practices described above, including but not limited to creating
a hostile work environment for ignoring plaintiffs’ complaints of discrimination, the
defendant discriminated against the plaintiffs in the terms and conditions of their
employment on the basis of their national origin, in violation of Title VII.

239. Defendant and its agents and individuals under its supervision and control failed
to take prompt and efficacious action to prohibit, prevent or discourage such conduct, and
accordingly, acceptedi ratified and authorized this activity, and thereby caused the
creation of a work environment which was hostile.

240. Plaintiffs are now suffering and will continue to suffer irreparable injury and
monetary damages as a result of the defendant’s, failure to correct its workers
discriminatory behavior.

241. Defendant acted intentionally and with malice and/or reckless indifference to

plaintiffs’ federally protected rights

242. Any alleged reason for defendant’s incidents of discrimination is nothing more

than a pretext so that the defendant and its agents may attempt to mask their actions.

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AS AND FOR A THIRD CAUSE OF ACTION ON
BEHALF OF PLAINTIFFS. SONYA DURAKL
NIEVES SANCHELLAND JULIA INIRIO, FOR
RETALIATION UNI)ER TITLE VII
AGAINST DEFENDANT
243. Plaintiffs repeat and reallege each and every allegation contained in paragraphs

“l" through “242" of the Complaint, with the same force and effect, as if fully alleged

herein.

244. By the acts and practices described above, including but not limited to
demoting, plaintiff`, SONYA DURAKU, increasing the workload of all plaintiffs thereby
changing the terms and conditions of their employment, failing to address plaintiffs’

complaints of discrimination, thereby creating a hostile work environment for plaintiffs’,

defendant retaliated against plaintiffs in the terms and conditions of their employment for
opposing unlawful employment practices in violation of Title VII.

245. Defendant and its agents and those under their supervision and control engaged
in purposeful retaliation against the plaintiffs, based upon said plaintiffs’ good faith
complaints of discrimination based on gender, national origin, and hostile work
environment, by treating them differently in the terms of employment and discipline from
other similarly situated workers

246. -Plaintiffs are now suffering and will continue to suffer irreparable injury and

monetary damages as a consequence of the defendant’s retaliatory acts.

247. Defendant acted intentionally and with malice and/or reckless indifference to

plaintiffs’ federally protected ri ghts.

248. Defendant aforementioned retaliatory practices were continuous, concerted,

abusive, extreme and outrageous.

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249.' Any alleged non-discriminatory reason-is nothing more than a pretext so that the
defendant and its agents and those under their control could attempt to mask their actions.
AS AND.FOR A F()URTH CAUSE OF ACTION ON
BEHALF OF PLAINTIFF§,

SONYA DURAKU. NIEVES SANCHEZ, AND JULIA INIRIQ
FOR DISCRIMINATION BASED ON GENDER
IN VIOLATION OF THE EXECUTIVE LAW,
AGAINST DEFENDANT

25(}. Plaintiffs repeat and reallege each and every allegation contained in
paragraphs “l" through “249" of the Complaint, with the same force and effect, as if fully
alleged herein.

251. By the acts and practices described above, including but not limited to
creating a hostile work environment for plaintiffs because of their gender and ignoring
plaintiffs’ complaints of discrimination the defendant discriminated against plaintiffs in
the terms and conditions of their employment on the basis of their sex in violation of the
Executive Law.

252. Defendant is liable as an “employer” pursuant to the Executive Law.

253. Plaintiffs are now suffering and will continue to suffer irreparable injury
and monetary damages as a consequence of the defendant’s discriminatory acts.

254. Defendant and its agents and those under its supervision and control
cannot demonstrate any legitimate non-discriminatory reason for the actions complained
of herein; nor can its actions be otherwise justified

255. Any alleged nondiscriminatory reason is nothing more than a pretext so

that the defendant and its agents could attempt to mask their actions.

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256. The discriminatory acts of the defendant and its agents and those under
their supervision and control were intentional and were performed with ill will and

reckless indifference to the plaintiffs’ protected rights.
AS AND FOR A FIFTH CAUSE OF ACTION ON
BEHALF OF PLAINTIFFS,
SONYA DURAKU, NIEVES SANCHEZ, AND JULIA INIRIO,
FOR DISCRIMINATION BASED ON NATIONAL ORIGIN
IN VIOLATION OF THE EXECUTIVE LAW
AGAINST DEFENDANT

257. Plaintiffs repeat and reallege each and every allegation contained in
paragraphs “l" through “256" of the Complaint, with the same force and effect, as if fully
alleged herein.

258. By the acts and practices described above, including but not limited to
creating a hostile work environment for plaintiffs because of their national origin and
ignoring plaintiffs’ complaints of discrimination the defendant discriminated against
plaintiffs in the terms and conditions of their employment on the basis of their national
origin in violation of the Executive_Law.

259. Defendant is liable as an “employer" pursuant to the Executive Law.

260. _ Plaintiffs are now suffering and will continue to suffer irreparable injury
and monetary damages as a consequence of the defendant’s discriminatory acts.

261. Defendant and its agents and those under their supervision and control
cannot demonstrate any legitimate non-discriminatory reason for the actions complained
of herein; nor can their actions be otherwise justified

262. Any alleged non-discriminatory reason is nothing more than a pretext so

that the defendant and its agents could attempt to mask their actions.

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263. ' 'l`he discriminatory acts of the defendant and its agents and those under

their supervision and control were intentional and were performed with ill will and

reckless indifference to the plaintiffs’ protected rights.

AS AND FOR A SIXTH CAUSE OF ACTION ON
BEHALF OF PLAINTIFFSJ
SONYA DURAKU NIEVES SANCHEZ AND JULIA INIRIO
FOR RETALIATION UNDER THE EXECUTIVE LAW
AGAINST THE DEFENDANT

264. Plaintiffs repeat and reallege each and every allegation contained in

paragraphs “l" through “263" of the Complaint, with the same force and effect, as if fully

alleged herein.

265. By the acts and practices described above, including but not limited to

demoting, plaintiff, SONYA DURAKU, increasing the workload of all plaintiffs thereby

changing the terms and conditions of their employment, failing to address plaintiffs’

complaints of discrimination, thereby creating a hostile work environment for plaintiffs’,

defendant retaliated against plaintiffs in the terms and conditions of their employment for

opposing unlawful employment practices in violation of the Executive Law.

266. The defendant retaliated against plaintiffs in the terms and conditions of

their employment for opposing unlawful employment practices, in violation of Executive

Law.

267. Defendant is liable as an “employer” pursuant to the Executive Law.

268. ' Plaintiffs are now suffering and will continue to suffer irreparable injury

and monetary damages as a consequence of the defendant’s retaliatory acts.

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269. Defendant and its agents and those under their supervision and control

cannot demonstrate any legitimate non-retaliatory reason for the actions complained of

herein; nor can their actions be otherwise justified

270. Any alleged non-retaliatory reason is nothing more than a pretext so that

the defendant and its agents could attempt to mask their actions.
271. The retaliatory acts of the defendant and its agents and those under their

supervision and control were intentional and were performed with ill will and reckless

indifference to the plaintiffs’ protected ri ghts.

AS AND FOR A SEVENTH CAUSE OF ACTION ON
7 BEI-IALF OF PLAINTIFFS.
SONYA DURAKU NIEVES SANCHEZ AND JULIA INIRIO
FOR DISCRIMINATION BASED ON GENDER UNDER
THE ADMINISTRATIVE CODE
AGAINS'I` THE DEFENDANT

272. Plaintiffs repeat and reallege each and every allegation contained in

paragraphs “l" through “271 " of the Complaint, with the same force and effect, as if fully

alleged herein.

273. By the acts and practices described above, including but not limited to

creating a hostile work environment for plaintiffs because of their gender and ignoring

plaintiffs’ complaints of discrimination, defendant discriminated against plaintiffs in the

terms and conditions of their employment on the basis of their gender in violation of the

Administrative Code.

274. Defendant is liable as plaintiffs’ “ernployer” pursuant to the

Administrative Code.

275. Plaintiffs are now suffering and will continue to suffer irreparable injury

and monetary damages as a result defendant’s discriminatory acts.

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276. Defendant acted intentionally and with malice and/or reckless indifference

to plaintiffs’ statutory rights
AS AND FOR A EIGHTI-I CAUSE OF ACTION ON
BEHALF OF PLAINTIFFS FOR
DISCRIMINATION BASE]) ON NATIONAL ORIGIN UNDER
THE ADMINISTRATIVE CODE
AGAINST THE DEFENDANT

277. Plaintiffs repeat and reallege each and every allegation contained in
paragraphs “l" through “276" of the Complaint, with the same force and effect, as if fillly
alleged herein.

278. By the acts and practices described above, including but not limited to
creating a hostile work environment for plaintiffs because of their national origin and
ignoring plaintiffs’ complaints of discrimination, defendant discriminated against
plaintiffs in the terms and conditions of their employment on the basis of their national
origin in violation of the Administrative Code.

279. Defendant is liable as plaintiffs’ “employer” pursuant to the

Administrative Code.

280. Plaintiffs are now suffering and will continue to suffer irreparable injury

and monetary damages as a result defendant’s discriminatory acts.

281. Defendant acted intentionally and with malice and/or reckless indifference

to plaintiffs’ statutory rights

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AS AND FOR A NINTH CAUSE OF ACTION ON
BEHALF OF PLAINTIFFS,
SONYA DURAKU MEVES SANCHEZ AND JULIA INIRIO
FOR RETALIA'I`ION UNDER THE ADMINISTRATIVE CODE
AGAINST THE DEFENDANT

282. Plaintiffs repeat and reallege each and every allegation contained in
paragraphs "l" through “281" of the Complaint, with the same force and effect, as if fully
alleged herein

283. By the acts and practices described above, including but not limited to
demoting, plaintiff`, SONYA DURAKU, increasing the workload of all plaintiffs thereby
changing the terms and conditions of their employment, failing to address plaintiffs’
complaints of discrimination, thereby creating a hostile work environment for plaintiffs’,
defendant retaliated against plaintiffs in the terms and conditions of their employment for
opposing unlawful employment practices in violation of the Administ:rative Code.

284. Defendant is liable as plaintiffs’ “ernployer” pursuant to the
Administrativc Code.

285. Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of defendant’s retaliatory acts.

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PRAYER ron RELIEF

WHEREFORE, plaintiffs, respectfully request the following award awarded the

following relief:

EL

declaring the acts and practices complained of herein are in violation of
Title VII, the Executive Law, and the Administrative Code;

enjoining and permanently restraining these violations of Title Vll, the
Executive Law, and the Administrative Code;

directing defendant to take such affirmative action as is necessary to
ensure that the effects of these unlawlill practices are eliminated and do
not continue to affect the plaintiffs’ employment opportunities;

directing defendant to pay plaintiffs punitive damages as provided by Title

Vll and the Administrative Code;

directing defendant to pay plaintiffs compensatory damages for emotional
distress, mental anguish, and hurniliation;

directing defendant to place plaintiffs in the position they would have been
in but for defendant’s discriminatory and retaliatory treatrnent, and to
make them whole for damage to their reputation and all earnings they
would have received but for defendant’s discriminatory and retaliatory
treatrnent, including, but not limited to, back-pay, bonuses, pension and

other lost benefits;

directing the defendant to reinstate the plaintiff`, SONYA DURAKU, as a

foreperson;

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h. awarding of reasonable attorneys’ fees, expert fees, costs and
disbursements;
i. awarding plaintiffs such interest as is allowed by law; and

granting such other and further relief as the Court deems necessary and

proper.

Dated: Melville, New York
November 9, 2009

Yours, etc.,

MISIANO anLMAN cAPEroLA a
KESSLER, L“i,P.

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